Case 8:04-cr-00367-JSM-MAP Document 222 Filed 01/30/08 Page 1 of 6 PageID 688




                        UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

TIMOTHY WILLIAMS

       Petitioner,

v.                                                 Case No. 8:07-CV-996-T-30MAP
                                                       Crim. Case No. 8:04-cr-367-T-30MAP
UNITED STATES OF AMERICA,

      Respondent.
_____________________________________/

                                          ORDER

       THIS CAUSE comes before the Court upon Petitioner’s Motion to Vacate, Set Aside,

or Correct Sentence Pursuant to 28 U.S.C. § 2255 (CV Dkt. #13) filed on September 12,

2007, the Government’s Response (CV Dkt. #15), and Petitioner’s Reply (CV Dkt. #18). The

Court concludes that this motion is due to be summarily denied without an evidentiary

hearing because it plainly appears that Petitioner is entitled to no relief.

                                          Timeliness

       Respondent claims that Petitioner failed to timely file the current § 2255 motion (CV

Dkt. #13). Respondent is of course correct that, because Petitioner’s conviction became final

on August 24, 2006, he originally had until August 24, 2007, to file his § 2255 motion. But

on August 21, 2007, the Court granted Petitioner’s motion to withdraw his original § 2255

motion and allowed him until September 26, 2007, to file a new motion (CV Dkt. #10).

Before that period elapsed, the Court further extended Petitioner’s time to file to November
Case 8:04-cr-00367-JSM-MAP Document 222 Filed 01/30/08 Page 2 of 6 PageID 689




26, 2007 (CV Dkt. #12). Because Petitioner filed the current motion on September 12, 2007

(CV Dkt. #13), the Court treats Petitioner’s motion as timely filed.

                                        Background

       Petitioner, Timothy Williams (hereinafter referred to as “Reynolds” or “Petitioner”),

has filed a Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255.

Petitioner plead guilty without a plea agreement on December 7, 2004, to one count of

conspiracy to possess with the intent to distribute five kilograms or more of cocaine, in

violation of 21 U.S.C. §§ 846 and 841(b)(1)(A) (Count One); and one count of possession

of a firearm in the furtherance of a drug trafficking crime, in violation of 18 U.S.C. § 924©)

(Count Two). On May 20, 2005, the Court sentenced Petitioner to 248 months imprisonment

to be followed by 60 months of supervised release. Judgment was entered and Petitioner

appealed to the Eleventh Circuit Court of Appeals.

       Petitioner raises two grounds (each consisting of multiple contentions) in support of

his motion to vacate, to wit:

GROUND ONE:

       Whether Petitioner’s conviction and sentence should be vacated due to his
receiving ineffective assistance of counsel. Specifically, Petitioner argues his trial counsel
was ineffective for failing to:

       (1)    Challenge the sufficiency of the indictment even though it stated that Petitioner
       “knowingly and intentionally” participated in the crimes instead of “willfully,” the
       term used in 21 U.S.C. §§ 846;

       (2)    Contest the Court’s jurisdiction to impose the “career criminal” enhancer, in
       light of the Supreme Court’s decisions in Apprendi v. New Jersey, 530 U.S. 466


                                          Page 2 of 6
Case 8:04-cr-00367-JSM-MAP Document 222 Filed 01/30/08 Page 3 of 6 PageID 690




      (2000), Blakely v. Washington, 542 U.S. 216 (2004), and United States v. Booker,
      543 U.S. 220 (2005);

      (3)    Argue that Petitioner was not a career criminal; and

      (4)     Challenge the nexus claimed by Respondent between Petitioner’s possession
      of firearms and drug trafficking, as required by 18 U.S.C. § 924©) (citing United
      States v. Suarez, 99-1594 (11th Cir. 2002)).

GROUND TWO:

       Whether Petitioner’s conviction and sentence should be vacated due to alleged
deficiencies of Petitioner’s indictment. Specifically, Petitioner argues the indictment was
insufficient because it:

      (1)    Stated that Petitioner “knowingly and intentionally” participated in the crimes
      instead of “willfully,” the term used in 21 U.S.C. §§ 846; and

      (2)   Failed to state with clarity and certainty the time period of Petitioner’s
      conspiracy.

The United States Court of Appeals, Eleventh Circuit, previously addressed many of these

contentions in Petitioner’s direct appeal. See U.S. v. Williams, 181 Fed.Appx. 945 (2006).

                                       Discussion

I.     Ineffective Assistance of Counsel

      Petitioner advances four distinct contentions regarding ineffective assistance of

counsel. To succeed on such a claim, Petitioner must show that (1) counsel's performance

was deficient due to “errors so serious that counsel was not functioning as the ‘counsel’

guaranteed [Petitioner] by the Sixth Amendment”; and (2) the deficient performance

prejudiced Petitioner. Strickland v. Washington, 466 U.S. 668, 687 (1984). Here, however,




                                        Page 3 of 6
Case 8:04-cr-00367-JSM-MAP Document 222 Filed 01/30/08 Page 4 of 6 PageID 691




the Eleventh Circuit Court of Appeals has already ruled that the underlying basis of three of

Petitioner’s contentions were meritless.

       On Williams’ appeal, the Eleventh Circuit held (1) the indictment was sufficient even

though it stated that Petitioner “knowingly and intentionally” participated in the crimes, (2)

the Court had jurisdiction to impose the “career criminal” enhancement, and (3) there was

a sufficient nexus between Petitioner’s possession of firearms and drug trafficking. Williams

contends his counsel was ineffective for failing to make these arguments at sentencing.

Because the failure to advance a meritless claim neither demonstrates deficient performance

nor prejudices Petitioner, the Court will deny Petitioner’s motion as to these grounds. See

generally Coulter v. Herring, 60 F.3d 1499, 1504 (11th Cir. 1995).

       Petitioner also argues that trial counsel was ineffective for failing to argue that

Petitioner was not a career criminal. Pursuant to USSG § 4B1.2(b), a court may only apply

enhancements for career criminals if a defendant has at least two felony convictions of a

violent crime or controlled substance offense. Williams questions whether his prior

conviction for possession of cocaine with intent to deliver constituted a controlled substance

offense, defined as:

       an offense . . . that prohibits the manufacture, import, export, distribution, or
       dispensing of a controlled substance . . . of the possession of a controlled
       substance . . . with the intent to manufacture, import, export, distribute, or
       dispense.

USSG § 4B1.2 (emphases added). Petitioner contends that, because USSG § 4B1.2(b) never

mentions “delivery” (instead only discussing “distribution”), possession of cocaine with


                                           Page 4 of 6
Case 8:04-cr-00367-JSM-MAP Document 222 Filed 01/30/08 Page 5 of 6 PageID 692




intent to deliver does not fall within the statute. However, the definition of “distribute” is “to

deliver.” Black’s Law Dictionary 509 (8th ed. 2004)1. And because this third hypothetical

argument is also meritless, Petitioner’s claim of ineffective assistance of counsel fails. See

generally Coulter, 60 F.3d at 1504.

II.    Insufficiency of Indictment

       Petitioner claims that the indictment was insufficient because it (1) stated that

Petitioner “knowingly and intentionally” participated in the crimes instead of “willfully”; and

(2) failed to state with clarity and certainty the time period of Petitioner’s conspiracy.

However, a “defendant who enters a plea of guilty waives all nonjurisdictional challenges

to the constitutionality of the conviction, and only an attack on the voluntary and knowing

nature of the plea can be sustained.” Wilson v. U.S., 962 F.2d 996, 997 (C.A.Ga 1992)

(citing Bradbury v. Wainwright, 658 F.2d 1083, 1087 (C.A.Fla. 1981)). Petitioner plead

guilty unconditionally on December 7, 2004, thereby waiving his right to challenge the

sufficiency of the indictment on collateral attack.

       Even if these arguments had not been waived, they would have failed. The Eleventh

Circuit Court of Appeals has already ruled that the indictment was not deficient. Williams,

181 Fed.Appx. at 948 (Williams was “sufficiently apprise[d] ... of what he must be prepared

to meet”). This ruling is the law of the case. Thus, the Court denies Petitioner’s motion

insofar as it challenges the sufficiency of the indictment.


       1
         In its Response (CV Dkt. #15), Respondent cites Fla. Stat. § 893.02(5) (2005) in arguing that
“distribute” means “to deliver.”

                                             Page 5 of 6
Case 8:04-cr-00367-JSM-MAP Document 222 Filed 01/30/08 Page 6 of 6 PageID 693




          It is therefore ORDERED AND ADJUDGED that:

          1.        Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28

 U.S.C. § 2255 (CV Dkt. #13) is DENIED.

          2.        The Clerk is to enter judgment for Respondent, United States of America,

 terminate any pending motions, and close this case.

          3.        The Clerk is directed to terminate the pending Motion to Vacate, Set Aside,

 or Correct Sentence (CR Dkt. #220) in the corresponding criminal case number 8:04-cr-367-

 T-30MAP.

          DONE and ORDERED in Tampa, Florida on January 30, 2008.




 Copies furnished to:
 Counsel/Parties of Record
 F:\Docs\2007\07-cv-996.deny 2255.wpd




                                              Page 6 of 6
